
PER CURIAM.
On June 17, 2004, the Department of Children and Family Services (DCF) filed an emergency motion for stay and petition for writ of common law certiorari or in the alternative petition for writ of prohibition or other appropriate relief. On July 1, 2004, this court granted the emergency motion for stay pending further order of this court. On July 7, 2004, this court dissolved the stay and denied the petition. This opinion follows.
DCF raises a claim under Florida Rule of Juvenile Procedure 8.095, challenging aspects of the trial court’s order finding J.T. incompetent to stand trial. Because DCF was not a party to the case below, it lacks standing to challenge the trial court’s order. See Dep’t of Health &amp; Rehab. Servs. v. Simon, 492 So.2d 1159 (Fla. 3d DCA 1986). The petition is therefore denied.
Petition denied.
CASANUEVA, DAVIS, and CANADY, JJ., Concur.
